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                                  S OUTHERN D ISTRICT OF N EW Y ORK



(full name of the plaintiff/petitioner)
                                                                       CV                             (       )(        )
                            -against-                      (Provide docket number, if available; if filing this with your
                                                           complaint, you will not yet have a docket number.)




(full name(s) of the defendant(s)/respondent(s))


                                          PRISONER AUTHORIZATION
By signing below, I acknowledge that:
(1) because I filed this action as a prisoner, 1 I am required by statute (28 U.S.C. § 1915) to pay
    the full filing fees for this case, even if I am granted the right to proceed in forma pauperis
    (IFP), that is, without prepayment of fees;
(2) if I am granted IFP status, the full $350 filing fee will be deducted in installments from my
    prison account, even if my case is dismissed or I voluntarily withdraw it.

I authorize the agency holding me in custody to:
(1) send a certified copy of my prison trust fund account statement for the past six months
    (from my current institution or any institution in which I was incarcerated during the past
    six months);
(2) calculate the amounts specified by 28 U.S.C. § 1915(b), deduct those amounts from my
    prison trust fund, and disburse those amounts to the Court.

This authorization applies to any agency into whose custody I may be transferred and to any
other district court to which my case may be transferred.



Date                                                      Signature



Name (Last, First, MI)                                                   Prison Identification #



Address                                            City                             State          Zip Code



1
  A “prisoner” is “any person incarcerated or detained in any facility who is accused of, convicted of,
sentenced for, or adjudicated delinquent for, violations of criminal law or the terms or conditions of
parole, probation, pretrial release, or diversionary program.” 28 U.S.C. § 1915(h).
SDNY Rev. 8/5/15
